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     UNITED STATES OF AMERICA
11
12                             UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                     No. CR 20-543-SB
15               Plaintiff,                        JOINT STATEMENT OF THE CASE
16                      v.                         Indictment:
                                                   November 3, 2020
17   ANDREW TATE and WILLIE ALSHA
     HILL,                                         Pretrial Conference:
18                                                 May 17, 2022
                 Defendants.
19                                                 Trial:
                                                   June 7, 2022
20
                                                   Last Day:
21                                                 June 22, 2022
22
23         Plaintiff United States of America, by and through its counsel of record, the
24   United States Attorney for the Central District of California and Assistant United States
25   Attorneys Jenna Williams and Jason C. Pang, and defendants ANDREW TATE, by and
26   through his counsel of record Damon Lamont Hobdy, and WILLIE ALSHA HILL, by
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 1   and through his counsel of record Amy Fan, hereby submit the following joint statement
 2   of the case.
 3    Dated: June 7, 2022                    Respectfully submitted,
 4                                           TRACY L. WILKISON
                                             United States Attorney
 5
                                             SCOTT M. GARRINGER
 6                                           Assistant United States Attorney
                                             Chief, Criminal Division
 7
 8                                              /s/
                                             JENNA WILLIAMS
 9                                           JASON C. PANG
                                             Assistant United States Attorney
10
                                             Attorneys for Plaintiff
11                                           UNITED STATES OF AMERICA
12
13
14
                                            /s/ - by email authorization
15   Dated: June 7, 2022
                                            DAMON LAMONT HOBDY
16                                          Attorney for Defendant
                                            ANDREW TATE
17
18
19   Dated: June 7, 2022
                                            /s/ - by email authorization
20
                                            AMY FAN
21                                          Attorney for Defendant
                                            WILLIE ALSHA HILL
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 1                            JOINT STATEMENT OF THE CASE
 2         This is a criminal case brought by the United States government. The indictment
 3   alleges specific crimes against the two defendants who are on trial. The charges arise
 4   primarily from (i) alleged drug purchases from in and around two storefronts on
 5   Figueroa Avenue in South Los Angeles by two confidential informants working with the
 6   FBI; and (ii) conversations intercepted from cellphones alleged to belong to defendant
 7   Andrew Tate and an alleged co-conspirator. Each defendant has entered pleas of not
 8   guilty and is presumed to be innocent unless and until the government proves the charges
 9   beyond a reasonable doubt.
10         In Count One, the government charges that defendants Andrew Tate and Willie
11   Alsha Hill conspired to distribute and possess with intent to distribute controlled
12   substances, specifically, methamphetamine, cocaine base in the form of crack cocaine,
13   and powder cocaine, in violation of Title 21, United States Code, Sections 846 and
14   841(a)(1). The indictment also alleges that, from on or about June 7, 2017 to May 22,
15   2018, defendants and their co-conspirators committed overt acts in furtherance of the
16   conspiracy. The government also contends that it was reasonably foreseeable to each
17   defendant that the members of the conspiracy would distribute or possess with intent to
18   distribute at least 50 grams of methamphetamine, and at least 28 grams of crack cocaine.
19         In Counts Twelve, Eighteen, Nineteen, Twenty-One, Twenty-Four, and Twenty-
20   Six, the government charges that defendant Tate distributed cocaine base in the form of
21   crack cocaine. Each of these alleged drug transactions are also reflected in various overt
22   acts charged as part of the conspiracy in Count One.
23         In Count Twenty-Eight, the government charges that defendant Tate participated
24   in a separate conspiracy to distribute and possess with intent to distribute heroin.
25   Specifically, the indictment alleges that defendant Tate conspired with two other
26   individuals to smuggle heroin supplied by defendant Tate to an inmate at Solano State
27   Prison. In Count Twenty-Nine, the government charges defendant Tate with the
28   distribution of the heroin that his co-conspirator attempted to smuggle into the prison.
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 1   These charges arise from intercepted calls from cellphones alleged to belong to
 2   defendant Tate and an alleged seizure of heroin from a visitor to the prison on or about
 3   November 18, 2017.
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